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                        UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

                             ALEXANDRIA DIVISION
               ___________________________________________________

   UNITED STATES OF AMERICA                           CRIMINAL NO. 04-10001/02

   -vs-                                                             JUDGE DRELL

   JEVON FREDERIC ARMOUR                              MAGISTRATE JUDGE KIRK




                                  JUDGMENT


          For the reasons contained in the Report and Recommendation of Magistrate

   Judge previously filed herein, noting the absence of objections thereto, and

   concurring with the magistrate judge’s findings under the applicable law,

          IT IS ORDERED that defendant’s Section 2255 Motion to Vacate, Set Aside,

   or Correct Sentence by a Person in Federal Custody is DENIED and DISMISSED

   WITH PREJUDICE.

          SIGNED on this 25th day of April, 2006, at Alexandria, Louisiana.
